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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                                                                                    December 14, 2022
                       IN THE UNITED STATES DISTRICT COURT                           Nathan Ochsner, Clerk

                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


 XIONGEN JIAO, an individual, QIANJI
 JIAO, an individual, ZHONGHUA YI, an
 individual,   PENGFEI    ZHOU,      an
 individual, XUAMEI ZHOU, an individual,

  Plaintiffs,

 vs.
                                                    Case No.: 4:19-CV-01848
 NINGBO XU, an individual, and LCL
 COMPANY, LLC, a Texas Limited                      Judge: Hon. Keith P. Ellison
 Liability Company,

  Defendants,

 and

 DONGTAI INVESTMENT GROUP, LLC,
 a Texas Limited Liability Company,

  Nominal Defendant.


                                             ORDER


        The Court has considered the Receiver for Dongtai Investment Group, LLC's

Unopposed Motion Requesting Access to Sealed Documents (“Motion”) (ECF No. 186).
The Court finds that the requested relief is hereby GRANTED.

        It is ORDERED that the Clerk of Court shall grant Ronald J. Sommers and his

counsel, Iain L. C. Kennedy, access to all sealed records in this case.

        IT IS SO ORDERED.

        SIGNED at Houston, Texas, on this the 13th day of December, 2022.



                                        ___________________________________________
                                        HON. KEITH P. ELLISON
                                        UNITED STATES DISTRICT JUDGE
